       Case 4:22-cv-01587-JSW Document 82-1 Filed 06/23/23 Page 1 of 2




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                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )
                                                        ) [PROPOSED] ORDER RE:
12                                                      ) PLAINTIFFS’ MOTION TO ENTER
             Plaintiffs,                                ) AN ORDER PURSUANT TO THE
13                                                      ) NINTH CIRCUIT’S MEMORANDUM
14   v.                                                 )
                                                        )
15                                                      )
     CITY AND COUNTY OF SAN FRANCISCO;                  ) Date: July 28, 2023
16                                                        Time: 9:00 AM
     LONDON BREED, Mayor of San Francisco in her ) Judge: The Honorable Jeffrey S. White
     official capacity; CAROL ISEN Human Resources )
17
     Director, City and County of San Francisco, in her )
18   official capacity; DOES 1-100,                     )
                                                        )
19                                                      )
           Defendants.                                  )
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27   _________________________________________________________________________________________________________
                  [PROPOSED] ORDER RE. PLAINTIFFS’ MOTION TO ENTER AN ORDER PURSUANT TO
                                       THE NINTH CIRCUIT’S MEMORANDUM
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       Case 4:22-cv-01587-JSW Document 82-1 Filed 06/23/23 Page 2 of 2




            The Court finds as follows:
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            Plaintiffs have established a prima facie case and meet all four Winter factors in support of
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     their Motion for Preliminary Injunction.
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            1. There is no public interest in Plaintiffs working in the privacy of their own homes.
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            2. The balance of equities falls in Plaintiffs favor, as no one working San Francisco can be
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     effected by Plaintiffs remote work.
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            3. Plaintiffs prevail on the merits. Defendant waived its affirmative defenses and failed to
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     carry its burden of going forward under well established Title VII law.
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            4. Irreparable harm is presumed when there is a violation of a civil rights statute, in this
 9
     case, Title VII. In addition, Plaintiffs loss of their careers established irreparable harm.
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            For good cause shown, Plaintiffs Motion for Preliminary Injunction is granted. Plaintiffs
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     are to be reinstated to their former positions forthwith.
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13          Dated:
                                                              The Honorable Jeffrey S. White
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27   _________________________________________________________________________________________________________
                  [PROPOSED] ORDER RE. PLAINTIFFS’ MOTION TO ENTER AN ORDER PURSUANT TO
                                       THE NINTH CIRCUIT’S MEMORANDUM
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